536 F.2d 388
    94 L.R.R.M. (BNA) 2781
    International Union of Electrical, Radio and MachineWorkers, AFL-CIO-CLCv.Markle Manufacturing Co.*#
    No. 76-1030
    United States Court of Appeals, Fifth Circuit
    7/14/76
    
      1
      W.D.Tex.
    
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    